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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO FILED

UNITED STATES DISTRICT COURT
DENVER, COLORAN:

Civil Action No. JUN 25 2019

(To be supplied by the court) JEFFREY P. COLWELL
CLERK

 

Toot Andalozola KICK. Gane? -Chové2 plaintiff
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, Defendant(s).

(List each named defendant on a separate line. If you cannot fit the names of all defendants in
the space provided, please write “see attached” in the space above and attach an additional
sheet of paper with the full list of names. The names listed in the above caption must be
identical to those contained in Section B. Do not include addresses here.)

 

PRISONER COMPLAINT

 

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

Plaintiff need not send exhibits, affidavits, grievances, witness statements, or any other
materials to the Clerk’s Office with this complaint.

 

 

 
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A. PLAINTIFF INFORMATION

You must notify the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the
court may result in dismissal of your case.

Tae Andalozola KICK. Garcia-Chovép Tesus Altec to

(Name, prisoner identification number, and complete mailing address)

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(Othet names by which you have been known) Ces Ge ‘s

Indicate whether you are a prisoner or other confined person as follows: (check one)

______ Pretrial detainee

____ Civilly committed detainee

______ Immigration detainee
______ Convicted and sentenced state prisoner
XM Convicted and sentenced federal prisoner
______ Other: (Please explain)

 

B. DEFENDANT(S) INFORMATION

Please list the following information for each defendant listed in the caption of the complaint. If
more space is needed, use extra paper to provide the information requested. The additional
pages regarding defendants should be labeled “B. DEFENDANT(S) INFORMAT. ION. ”

Defendant 1: ~UWe QS slate ok Col ORa bo

(Name, job title, and complete mailing address)

 

At the time the cai) in this complaint arose, was this defendant acting under
color of state or federal law? KYes ___ No (check one). Briefly explain:

 

 

Defendant | is being sued in his/her x individual and/or RK official capacity.
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Defendant 2:

Defendant 3:

 

(Name, job title, and complete mailing address)

 

At the time the osu in this complaint arose, was this defendant acting under
color of state or federal law? __— Yes___ No (check one). Briefly explain:

 

 

Defendant 2 is being sued in his/her ___ individual and/or ____ official capacity.

 

(Name, job title, and complete mailing address)

 

At the time the cams in this complaint arose, was this defendant acting under
color of state or federal law? = es__ No (check one). Briefly explain:

 

 

Defendant 3 is being sued in his/her ___ individual and/or ____ official capacity.

C. JURISDICTION
Indicate the federal legal basis for your claim(s): (check all that apply)

MK 42 U.S.C. § 1983 (state, county, and municipal defendants)

Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971)

(federal defendants)

KA Other: (please identify)

 
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D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action. For each claim,
specify the right that allegedly has been violated and state all facts that support your claim,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific legal cases to support your claim(s). If additional space
is needed to describe any claim or to assert additional claims, use extra paper to continue that
claim or to assert the additional claim(s). Please indicate that additional paper is attached and
label the additional pages regarding the statement of claims as “D. STATEMENT OF CLAIMS.”

CLAIM ONE: 42S‘ Con sickion
Supporting facts: “T° gum be Teg d+ wined 2 ACOF
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E. PREVIOUS LAWSUITS

Have you ever filed a lawsuit, other than this lawsuit, in any federal or state court while you
were incarcerated? ___ Yes K No (check one).

If your answer is “Yes,” complete this section of the form. If you have filed more than one
previous lawsuit, use additional paper to provide the requested information for each previous
lawsuit. Please indicate that additional paper is attached and label the additional pages
regarding previous lawsuits as “E. PREVIOUS LAWSUITS.”

Name(s) of defendant(s):

 

Docket number and court:

 

Claims raised:

 

Disposition: (is the case still pending?
has it been dismissed?; was relief granted?)

 

Reasons for dismissal, if dismissed:

 

Result on appeal, if appealed:

 

F. ADMINISTRATIVE REMEDIES
WARNING: Prisoners must exhaust administrative remedies before filing an action in federal
court regarding prison conditions. See 42 U.S.C. § 1997e(a). Your case may be dismissed or
judgment entered against you if you have not exhausted administrative remedies.
Is there a formal grievance procedure at the institution in which you are confined?

____ Yes x No (check one)

Did you exhaust administrative remedies?

Kw Yes ___ No (check one)
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G. REQUEST FOR RELIEF

State the relief you are requesting or what you want the court to do. If additional space is needed
to identify the relief you are requesting, use extra paper to request relief. Please indicate that
additional paper is attached and label the additional pages regarding relief as “G. REQUEST

FOR RELIEF.” % ge Me A), Myx / 2 4 a Fal { Deketort
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H. PLAINTIFF’S SIGNATURE

I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;
18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

 

 

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(Plaintiff's signature)

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(Date) 7

(Form Revised December 2017)
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4, If you are proceeding pursuant to 28 U.S.C. § 1915 and the motion, affidavit, and
certified copy of your trust fund account statement (or institutional equivalent) are in proper form,
you must pay the full $350.00 filing fee in monthly installments. See 28 U.S.C. § 1915(b)(1).
The Court will enter an order directing your custodian to calculate and disburse funds from you
inmate trust fund account or institutional equivalent in the amounts specified by 28 U.S.C. §
1915(b) until the full $350.00 filing fee is paid.

The Complaint

1. Each named defendant must be listed in the caption of the complaint, one defendant
per line. If there is more than one defendant, you should indicate clearly in the body of the
complaint which actions are attributable to each defendant.

2. You must provide the Court with an original complaint. You should keep a copy
of the complaint for your own records. The Court will not provide a copy for you.

3. When your complaint is completed, it should be mailed with the filing fee or
motion for leave to proceed pursuant to 28 U.S.C. § 1915 to the Clerk of the United States District
Court at the following address:

Clerk of the Court
Alfred A. Arraj United States Courthouse
901 19th Street, Room A105
Denver, CO 80294-3589

4. Each original document (except the original complaint) must include a certificate
stating the date a copy of the document was mailed to the opposing party or his, her, or its attorney
and the address to which it was mailed. Any document that fails to include a certificate of service
may be disregarded by the Court or returned. An example of a certificate of service is:

I hereby certify that a copy of the foregoing pleading/document was mailed to
(defendant(s) or counsel for defendant(s))
at (address) on , 20 :

 

 

Plaintiff's Original Signature
5. The United States district judges, the United States magistrate judges, the Clerk of

the Court, and deputy clerks are officers of the Court and are prohibited from giving legal advice..
Legal questions should be directed to an attorney.

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Arapahoe County Detention Facility
PO. Box 4918
Centennial, CO 80155-4918

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